CONSTANTINE | CANNON

NEW YORK WASHINGTON

Amy N. Roth

Attorney at Law
202-204-3505
aroth@constantinecannon.com

July 7, 2006

By ECF

The Honorable John Gleeson

United States District Court Judge

U.S. District Court for the Eastern District of New York
225 Cadman Plaza East

Brooklyn, New York 11201

Re: Visa Check/MasterMoney Antitrust Litigation (CV-96-5238)(JG)(RLM)

Dear Judge Gleeson:

Lead Counsel writes to inform the Court about how Lead Counsel has instructed the
Claims Administrator to treat claims filed after the previously established deadline and how to
treat requests for claim forms which still are being received, more than six months after the
deadline for claims to be filed.

By Order of the Court, dated October 11, 2005, the deadline for Class Members to file
claims was extended from November 28, 2005 until December 28, 2005. Notwithstanding that
Order, as is Lead Counsel’s prerogative under the Plan of Allocation, we directed the Claims
Administrator to continue accepting and processing claims beyond the December 28, 2005
deadline. They have done so, at our direction, and continue to do so more than six months after
the deadline. Moreover, barring some unforeseen circumstance, it is Lead Counsel’s intention to
direct the Claims Administrator to continue accepting and processing claims through the end of
2006, i.e., roughly one year beyond the Court-ordered deadline.

At the same time, as noted above, Lead Counsel has instructed the Claims Administrator
to mail claim forms to any potential Class Member that requests a form. It is Lead Counsel’s
intention to direct the Claims Administrator to honor all requests for claim forms through July
31, 2006, and thereafter decline to send claim forms. Therefore, the cutoff on sending a claim
form will be more than seven months after the Court’s December 28, 2005 deadline for filing
completed claim forms.

78325.1

1027 EYE STREET N.W., WASHINGTON, D.C. 20006 TELEPHONE: (202) 204-3500 FACSIMILE: (202) 204-3501 WWW.CONSTANTINECANNON.COM
A PROFESSIONAL CORPORATION
Case 1:96-cv-05238-MKB-JO Document 1314 |Filed 07/07/06 Page 2 of 2 PagelD #: 4057
CONSTANTINE | CANNON

NEW YORK | WASHINGTON

Hon. John Gleeson
July 7, 2006
Page 2

Moreover, Lead Counsel will issue a Merchant Advisory Press Release on July 14, 2006
notifying the Class that any additional requests for claim forms must be made by July 31, 2006.

Respectfully submitted,

Ney KI We,

Amy N. “Roth

cc: Special Master Robin Wilcox (by first class mail)

78325.1
